Case 4:94-cv-02307-CW Document 3156-10 Filed 11/17/20 Page 1 of 6




Attorneys for Defendants Gavin Newsom and the
California Department of Corrections and
Rehabilitation
Case 4:94-cv-02307-CW Document 3156-10 Filed 11/17/20 Page 2 of 6
Case 4:94-cv-02307-CW Document 3156-10 Filed 11/17/20 Page 3 of 6
                        Case 4:94-cv-02307-CW Document 3156-10 Filed 11/17/20 Page 4 of 6

CDCR                                                             INCIDENT REPORT PACKAGE                                        PAGE:    18
REPORT NO.                                                                                                                 PROCESSED: 09/23/2020 10:00
                                                       INCIDENT LOG NUMBER:                                                REQUESTOR: A. Lugo

                                                                        STAFF NARRATIVE

                            STAFF NAME: Solano, E                                                       NARRATIVE TYPE: Initial Report
                         CREATED DATE: 04/16/2020                                                          CREATED TIME: 06:43:24

                                                                          NARRATIVE

  On Wednesday, April 15, 2020, at approximately 0800 hours, the Investigative Services Unit (ISU) was requested to respond to Facility 'C' via institutional radio.
  Upon arrival, I was apprised of a battery on an inmate with a weapon involving Inmate                                  as the Victim and Inmate
                         as the Suspect involved in the incident.

  I was informed Inmate            had sustained injuries to his upper back area and had already been transported to the CSP-LAC C/D Medical Clinic area. I
  responded to C/D Medical Clinic and began taking a series of digital photographs (for evidentiary documentation purpose) depicting Inmate           and the
  affected areas described by          as a results of the incident.

  The following depicts the photographic evidence obtained of Inmate            by frame:
  Frame #1: Overall view of Inmate             upper back area, with a bloodstain on right shoulder blade area.
  Frame #2: Overall view of Inmate             right shoulder blade, showing a small laceration wound, while medical staff attending to his wounds.
  Frame #3: Close-up frontal view of the laceration wound.
  Frame #4: Close-up view of the laceration wound.
  Frame #5: Over-all view of Inmate
  Frame #6: Close-up view of Inmate              back hands.
  Frame #7: Close-up view of Inmate              front hands.

  Upon completion of the photographic evidence collection process of Inmate             in the C/D Medical Clinic, I responded to Facility 'C' to photograph Inmate
         . Upon approaching Housing Unit #1 where Inmate            was located, I informed Inmate          that I was going take a series of digital photographs
  for evidentiary purposes. Inmate        complied with my orders and remained standing, while Responding Officers maintained custody of him.

  The following depicts the photographic evidence obtained of Inmate           by frame:
  Frame #1: Over-all view of Inmate
  Frame #2: Close-up view of Inmate            right backhand.
  Frame #3: Close-up view of Inmate            left backhand.
  Frame #4: Close-up view of Inmate            right hand.
  Frame #5: Close-up view of Inmate            left hand.

  Upon completion of the photographic evidence collection process of Inmate         , I photographed Inmate           cell. Upon arrival to his Inmate
  solely assigned cell, I observed all of Inmate       property was already packed. Based off my training and experience as an ISU Officer, Inmate
  battery on Inmate              with the weapon was premeditated and his overall object was to be relocated to another facility or institution based on the fact all
  his personal property was packed and ready to be inventoried.

  At approximately 1200 hours, I retrieved two evidence bags from C/D Evidence Room Locker #2 and Locker #7. I returned to the ISU Office and began to
  processing the evidence. I photographed one (1) Inmate Manufacture weapon, which measured approximately eight (8") inches in length, made from a black in
  color flat metal stock. The weapon was sharpened to a point in one end and a handle made out of a white cloth and clear tape wrapped around in the other end
  forming a handle.
  I then processed one (1) gray long sleeve shirt collected from the victim, which contained a bloodstain on the upper back area. The shirt also contained two
  small puncture holes within the same area. I then photographed one (1) white shirt, which also had a bloodstain on the upper back area.

  Upon completion of the photographic evidence collection process, I secured the evidence into ISU Main Evidence Locker #1 without further incident.

  This concludes my involvement in this incident.


   E. Solano                                                                                                   DATE: 04/16/2020
  STAFF SIGNATURE

                                                                                                             PERNR: 88434
                                         BADGE #: 83260

                        NARRATIVE REVIEWED: Yes                                             REVIEWED BY STAFF: Varela, J
                                REVIEWED DATE: 04/16/2020                                        REVIEWED TIME: 07:46:49
Case 4:94-cv-02307-CW Document 3156-10 Filed 11/17/20 Page 5 of 6
Case 4:94-cv-02307-CW Document 3156-10 Filed 11/17/20 Page 6 of 6
